     Case 2:99-cr-00433-WBS-AC Document 1610 Filed 10/17/13 Page 1 of 2


 1

 2

 3

 4

 5

 6

 7

 8                                   UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         No. 2:99-cr-433-06 WBS AC
12                      Plaintiff,
13          v.                                         ORDER
14   SON VAN NGUYEN,
15                      Defendant.
16

17          Petitioner Son Van Nguyen is a federal petitioner represented by counsel, before the court

18   on a motion attacking his conviction and sentence pursuant to 28 U.S.C. § 2255. The matter was

19   referred to a United States Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule

20   302.

21          On August 20, 2013, the magistrate judge filed findings and recommendations herein

22   which were served on all parties and which contained notice to all parties that any objections to

23   the findings and recommendations were to be filed within fourteen days. Plaintiff has filed

24   objections to the findings and recommendations.

25          In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C) and Local Rule 304, this

26   court has conducted a de novo review of this case. Having carefully reviewed the entire file, the

27   court finds the findings and recommendations to be supported by the record and by proper

28   analysis.
                                                      1
     Case 2:99-cr-00433-WBS-AC Document 1610 Filed 10/17/13 Page 2 of 2


 1          Accordingly, IT IS HEREBY ORDERED that:

 2          1. The findings and recommendations filed August 20, 2013, are adopted in full;

 3          2. Petitioner Son Van Nguyen’ motion under 28 U.S.C. § 2255 is DENIED;

 4          3. A certificate of appealability should not issue in this action.1

 5   Dated: October 17, 2013

 6

 7

 8

 9   /md; nguy433.805

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25
     1
26     A certificate of appealability may issue under 28 U.S.C. § 2253 “only if the applicant has made
     a substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). For the
27   reasons set forth in the magistrate judge’s August 20, 2013 findings and recommendations,
     petitioner has not made a substantial showing of the denial of a constitutional right.
28
                                                       2
